               Case 3:18-cv-05215-RJB Document 66 Filed 09/06/19 Page 1 of 3



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 2                                                          THE HONORABLE ROBERT J. BRYAN

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 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA
          DEMOND LAVELLE BABB, a single
 9        person,
                                 Plaintiff,                     No. 3:18-CV-05215-RJB
10             v.
                                                                STIPULATION AND ORDER OF
11        CITY OF TACOMA, a Washington                          DISMISSAL
          Municipal Corporation; “JOHN DOES 1-
12        2” and, “JANE DOES 1-2”, husbands and
          wives; CITY OF FIFE, a Washington
13        Municipal Corporation; “JOHN DOES 3-
          7” and, “JANE DOES 3-7”, husbands and
14        wives; SOUTH CORRECTIONAL
          ENTITY, a Washington Municipal
15        Corporation; and “JOHN DOES 8-15” and
          “JANE DOES 8-15”, husbands and wives,
16
                                           Defendants.
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18
            IT IS HEREBY STIPULATED that an order may be entered herein dismissing the
19
     above-entitled action, with prejudice and without costs, and without notice of presentation
20
     of this order, for the reason that the same has been settled and the settlement is reasonable.
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     STIPULATION AND ORDER OF DISMISSAL                                          LEBRON LAW GROUP PLLC
                                                                                 3615 STEILACOOM BLVD SUITE 301
                                                                                 LAKEWOOD, WA 98499
                                                                                 TEL (253)589-0909 FAX (253)267-0626
              Case 3:18-cv-05215-RJB Document 66 Filed 09/06/19 Page 2 of 3



 1   Dated this 5th day of August, 2019.

 2
      __________________________________              /s_____________________________
 3
      Deola Lebron WSBA 41290                          Michele Atkins WSBA 32435
      Attorney for Plaintiff                           Attorney for Defendants
 4
                                                       South Correctional Entity and
                                                      John Does 8-15 and Jane Does 8-15
 5

 6
                                                       /s__________________________
                                                       Monica Cadagan WSBA 48781
 7
                                                       Attorney for Defendant
                                                       South Correctional Entity and
 8
                                                      John Does 8-15 and Jane Does 8-15
 9

10
                                                     /s____________________________
                                                       Stewart A. Estes WSBA 15535
11
                                                       Attorney for Defendant
                                                       South Correctional Entity
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                                                     ______________________________
14
                                                     Matthew Segal WSBA 29797
                                                     Attorney for Defendant
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                                                     South Correctional Entity and
                                                     John Does 8-15 and Jane Does 8-15
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     STIPULATION AND ORDER OF DISMISSAL                        LEBRON LAW GROUP PLLC
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                                                               TEL (253)589-0909 FAX (253)267-0626
               Case 3:18-cv-05215-RJB Document 66 Filed 09/06/19 Page 3 of 3



 1                                                ORDER

 2
            It appearing to the Court from the foregoing Stipulation that the above-entitled action
 3
     should be dismissed, with prejudice, it is by the Court
 4
            ORDERED that the above entitled action be, and the same is hereby dismissed with
 5
     prejudice.
 6

 7
            DATED this 6th day of September, 2019.
 8

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10
                                           A
                                           ROBERT J. BRYAN
                                           United States District Judge
11

12

13

14    __________________________________                       /s________________________________
      Deola Lebron WSBA 41290                                   Michele Atkins WSBA 32435
15    Attorney for Plaintiff                                    Attorney for Defendants
                                                                South Correctional Entity and
16                                                              John Does 8-15 and Jane Does 8-15

17

18    /s
      ______________________________                             /s___________________________
      Stewart A. Estes WSBA 15535                                Monica Cadagan WSBA 48781
19    Attorney for Defendant                                      Attorney for Defendant
      South Correctional Entity                                  South Correctional Entity and
20                                                               John Does 8-15 and Jane Does 8-15

21
                                                                 ______________________________
22                                                               Matthew Segal WSBA 29797
                                                                 Attorney for Defendant
23                                                               South Correctional Entity and
                                                                 John Does 8-15 and Jane Does 8-15
24
     STIPULATION AND ORDER OF DISMISSAL                                      LEBRON LAW GROUP PLLC
                                                                             3615 STEILACOOM BLVD SUITE 301
                                                                             LAKEWOOD, WA 98499
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